         Case 6:11-cr-10074-EFM            Document 216     Filed 02/07/13   Page 1 of 16




                               IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF KANSAS


UNTIED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
v.                                              )       Case No. 11-10074-03-EFM
                                                )
MARIANO A. HERRERA,                             )
                                                )
                           Defendant.           )




                                        MEMORANDUM AND ORDER



           Defendants charged in federal court with a felony who cannot afford to obtain adequate

legal representation on their own are entitled to have such representation furnished to them.

Often, this is achieved through the services of the Federal Public Defender’s Office, but

frequently (generally due to conflicts in multi-defendant cases) attorneys are chosen from a panel

of attorneys approved for furnishing such representation. Such appointments are essentially

public service appointments, but appointed counsel are nonetheless entitled to be compensated

for time “reasonably expended” in such representation.1         Just what constitutes “reasonably

expended” time is a matter the Court now considers in reviewing the CJA payment voucher

presented by appointed counsel in this case.

           Defendant Mariano A. Herrera and two other defendants were indicted by the Grand Jury

on May 18, 2011, in a two count indictment charging possession with intent to distribute

methamphetamine, and conspiracy to distribute methamphetamine. Two days later, on May 20,

the defendant was arrested and Holly Dyer was appointed by the Court to represent him. At his
1
    18 U.S.C. § 3006A(d)(1).

                                                    1
      Case 6:11-cr-10074-EFM           Document 216        Filed 02/07/13       Page 2 of 16




initial appearance and arraignment, he waived a detention hearing. A superseding indictment

was returned on September 14, 2011, although this only added a third count solely as to another

defendant, and added a forfeiture count regarding the third count against that other defendant. A

second superseding indictment was returned on October 13, 2011, which adjusted the description

of the methamphetamine, but otherwise did not change the counts. Rrachelle Breckenridge, an

associate with Ms. Dyer’s firm, entered her appearance in this case on April 16, 2012 (though

she was not separately appointed) and participated in all matters thereafter.

       The Court issued its standard General Order of Discovery & Scheduling on May 24,

2011. On July 5, 2011, Herrera and another defendant joined in a motion to continue the motion

deadline and trial schedule, noting that the government had produced a number of documents

and recordings, but that Herrera was seeking more documentation (the other defendant did not

indicate that he was). A 30 day continuance was granted, and on August 4, 2011, Herrera (this

time alone) sought a further continuance “because discovery is not yet complete.” Specifically,

the motion for a continuance complained that the government had not produced laboratory tests,

English translations of recordings of interviews, and other recordings/transcripts in this case. It

was noted that the government had indicated these items would be produced, but the timing of

production was unclear. The additional continuance was granted. One week later, on August 11,

2011, Herrera filed a motion to compel discovery regarding confidential informants. Herrera’s

motion was only one page, however, and adopted the filing of another defendant. A third motion

to continue was filed by Herrera on September 6, 2011, which was granted. The motion to

compel was denied by the Court on September 20, 2011.

       On October 24, 2011, Herrera filed a Motion to suppress statements or admissions,

supported by a short memorandum. After the matter was fully briefed, the Court held a hearing



                                                 2
      Case 6:11-cr-10074-EFM            Document 216      Filed 02/07/13      Page 3 of 16




on the motion on November 28, 2011, and denied the motion. On February 9, 2012, Herrera

filed a motion to Compel, itemizing twelve items that the government should be required to

produce, supported by an eight-page memorandum. The government responded, asserting that

defense counsel misunderstood the rules relating to criminal discovery that the government was

obligated to produce, and assuring defendant and the Court that the United States understood its

constitutional obligations. The Court held a hearing on this motion on February 28, 2012, and

denied the motion in open court without further written order and memorandum.

       Following a status conference on the case on April 13, 2012, Herrera filed five motions in

limine. The Court denied three of them as moot and denied the other two as well on April 19,

2012. On April 22, 2012, Herrera filed another motion in limine, which the Court denied as

moot by text entry the following day.

       Trial in the matter was scheduled to begin on April 23, 2012.           That day, Herrera

presented for a change of plea, but he was unable to enter a plea (although one of his co-

defendants did enter a plea of guilty that day). Trial in the matter was held that day and the next

two, and on April 25, 2012, the jury returned guilty verdicts against Herrera on both counts. A

motion for judgment of acquittal was filed by Herrera on May 9, 2012, and denied by the Court

on May 16, 2012. Following two motions for continuance, sentencing was scheduled for August

20, 2012. Defendant faced a guideline sentence of 151 to 188 months (for an offense with a

minimum term of 120 months).         Herrera filed a motion for downward departure seeking

application of 18 U.S.C. 3553(f) (the safety valve). The government moved to strike that filing,

but the Court denied that motion and granted the safety valve, and sentenced defendant to 120

months. Defendant is likely to be deported following his term of incarceration.




                                                3
       Case 6:11-cr-10074-EFM                Document 216           Filed 02/07/13         Page 4 of 16




        Herrera’s counsel filed an appeal on August 30, 2012, and designated the record for that

appeal, but was thereafter allowed to withdraw from the case by the Circuit Court on September

14, 2012. New counsel was appointed for the appeal, and from that date on, Ms. Dyer was no

longer involved in the case (nor was her associate, Ms. Breckenridge).

        Given that over 95% of criminal cases end in a guilty plea, it cannot be said that a case

that went to trial was completely ordinary. But, other than the fact that this case was tried to a

jury and did not end in a plea, it was procedurally a quite unremarkable drug case, and largely

indistinguishable from any other trial with similar charges, save only for the differing factual

particulars.    What is most unusual, and prompted this Order, came shortly after counsels’

withdrawal. They submitted vouchers reflecting that they had together billed 422.9 hours (31.7

hours for in-court time and 391.2 hours for out of court time) on this matter, for a combined

request for payment of attorneys’ fees in an amount of $52,862.50. Additionally, the vouchers

requested reimbursement of $847.75 in travel expenses and $348.88 in other expenses.2 A

separate voucher seeking reimbursement of “other services” for 15.8 hours of paralegal time in

the amount of $869.00 was submitted for the paralegal services of four separately identified

paralegals who were employed by the same firm with which Ms. Dyer and Ms. Breckenridge are

associated. Finally, in a related application, Ms. Dyer submitted an application for approval of

expert services rendered by InterLingual Services for Spanish interpretation in the amount of

$10,804.65 for professional services and $908.25 for travel expenses, for a total voucher amount

of $11,712.90. Therefore, the Court is asked to approve in total fees and expenses of $66,641.03

associated with the defense of defendant Herrera.



2
  The Court’s administrative staff adjusted the other expenses to $264.88 by disallowing $120.00 charged for the
services of a process server to “locate and confirm address of witness.” These types of charges are not reimbursable
under the CJA.

                                                         4
       Case 6:11-cr-10074-EFM          Document 216          Filed 02/07/13   Page 5 of 16




        Although each case is different, and comparisons between cases difficult, it is worth

noting that the current maximum amount of attorney’s compensation authorized is $9,700 per

non-capital felony case.3 Requests in excess of that amount require certification by the presiding

judicial officer that the case involved extended or complex representation for which additional

fees were necessary to provide fair compensation, and approval of the same by the chief judge of

the relevant circuit court of appeals.4 A case is “extended” if more time is reasonably required

for total processing than the average case.5 A case is “complex” if the legal or factual issues are

unusual, thus requiring the expenditure of more time, skill, and effort by the lawyer than would

normally be required in an average case.6 After determining that a case is extended or complex,

the approving judicial officer must then determine whether excess payment is necessary to

provide fair compensation by considering, among others, the following criteria: responsibilities

involved measured by the magnitude and importance of the case; manner in which duties were

performed; knowledge, skill, efficiency, professionalism, and judgment required of and used by

counsel; nature of counsel’s practice and injury thereto; any extraordinary pressure of time or

other factors under which services were rendered; and any other circumstances relevant and

material to a determination of a fair and reasonable fee.7

        The Court finds worth judicial note data that all federal courts have received from the

Judicial Conference of the United States, Committee on Defender Services, setting forth CJA

payments by major offense code nationally and for each judicial circuit. The data reports the

Mean, Minimum, and Maximum amount of such fees. For 2011 (the latest year for which such

information is available), the highest reported “maximum” fee paid throughout the eight Districts

3
  CJA Guidelines § 230.23.20
4
  CJA Guidelines § 230.23.10(c)
5
  CJA Guidelines § 230.23.40(b)
6
  Id.
7
  CJA Guidelines § 230.23.40(c)

                                                 5
       Case 6:11-cr-10074-EFM                Document 216            Filed 02/07/13         Page 6 of 16




within the Tenth Circuit, from among a dozen Drug Offense codes was $56,663.                                   This

information is noted solely for purposes of perspective.

        The Court also finds worth judicial note matters relating to the co-defendant. Herrera

actually had two co-defendants, but one of them was represented by the federal public defender,

and thus no CJA vouchers for attorney’s fees were submitted for that defendant. However, co-

defendant Mario Alvarez was also represented by appointed counsel, and his experience should

have been comparable. Indeed, Mario Alvarez8 was the sole defendant whom the superseding

indictments ultimately added a third count against, and so he faced three counts instead of the

two faced by Herrera. Mario Alvarez entered a plea of guilty, but he did so only after trial had

commenced and a jury had been selected.                Therefore, although his in-court time would have

been different from that of Herrera’s counsel (as he did not stay for the remainder of the trial), it

is reasonable to assume that his out of court time might have been comparable.9 However, the

Out of court time billed by Mario Alvarez’s attorneys10 was a total of 87.4 hours; roughly 22% of

the out of court time billed by counsel for Herrera. Again, this information is noted solely for

purposes of perspective.

        As noted, Herrera’s counsel also submitted an application for approval of expert services

rendered for Spanish interpretation in the amount of $10,804.65 for professional services and

$908.25 for travel expenses, for a total voucher amount of $11,712.90. Appointed counsel are

authorized to obtain expert service (including interpreters) necessary for adequate representation


8
  Because the first defendant was Sergio Alvarez, Mario Alvaraez’s brother, the Court will continue to refer to this
defendant by his full name to avoid any possibility of confusion.
9
   This should also be largely true for post-trial matters, as both Herrera and Mario Alvarez had Presentence
Investigation Reports prepared regarding them, and both appeared for sentencing. However, it should be noted that
Herrera filed a motion for judgment of acquittal following the jury verdict, and designated a record for appeal,
neither of which Mario Alvarez (who pleaded guilty and waived appeal) did.
10
   Counsel initially appointed for Mario Alvarez ultimately withdrew, and new counsel was appointed. Both counsel
submitted vouchers for payment of attorneys’ fees, and the Court’s reference to the time billed with respect to Mario
Alvarez (both here and elsewhere in this opinion) reflects the total of both vouchers.

                                                         6
         Case 6:11-cr-10074-EFM              Document 216            Filed 02/07/13   Page 7 of 16




without prior authorization of the Court, provided the total costs of the expert services do not

exceed $800.11 The total costs of services obtained without prior approval may not exceed $800;

however, in the interests of justice the Court may approve payment for such services in excess of

$800 even after they have been obtained, if the Court finds that timely procurement of the

necessary services could not await prior authorization.12 In any event, even with prior

authorization, payments for services shall not exceed $2,400 unless such payments are certified

by the Court as necessary to provide fair compensation for services of an unusual character or

duration; and even then only upon further approval of the excess payment by the chief judge of

the circuit court of appeals.13 Our Local Rules are in conformity procedurally, although they

reflect now outdated, lower amounts than those referenced above.14 Counsel in this case did not

seek prior authorization for the payment of interpreter fees in excess of $800, and did not make a

showing that procurement of the services represented by such excess fees could not have awaited

prior authorization. Further, her submission of the Request and Authorization for Payment of

Expert Services did not include any showing of why payments of amounts in excess of the

authorized maximums were “necessary to provide fair compensation for services of an unusual

character or duration” other than as they might be inferred in her showing regarding her own fees

(discussed below).

           The amount of maximum allowable compensation (absent approval of excess) applies to

both cases that go to trial, and to those that do not. While it is not extraordinary to request such

approval for excess fees, in this Court’s experience, it is by no means ordinary or typical, and



11
     18 U.S.C. § 3006A(e)(2)(A); CJA Guidelines § 310.20.30
12
   18 U.S.C. § 3006A(e)(2)(B) (emphasis added).
13
   18 U.S.C. § 3006A(e)(3); CJA Guidelines § 310.20.10; 310.20.20.
14
   D. Kan. Rule CR44.1(g).

                                                        7
       Case 6:11-cr-10074-EFM               Document 216            Filed 02/07/13        Page 8 of 16




usually arises in connection with a case that went to trial, or had extensive contested pretrial

hearings, or that was designated a complex case (this case was not designated as complex).

        Several years ago, facing growing demand on the CJA panel that was created principally

by the growth in multi-defendant criminal cases, the Court approached many of the prominent

civil law firms in Wichita and requested their participation in the CJA panel. The Court was, and

is, grateful for the response received from many firms, such as Ms. Dyer’s, and the willingness

of attorneys in those firms (who would not have otherwise considered themselves engaged in

criminal practice) to serve the public interest and the Court by volunteering to participate in the

CJA panel. However, it is the Court’s duty and obligation to fix the compensation to be paid to

the appointed attorney.15 That duty includes determining what amount of time was reasonably

expended.16

        Appointed counsel are required, when claimed compensation exceeds the maximum

amount allowed, to submit a detailed memorandum which supports and justifies that the

additional time was made for extended or complex representation.17 Counsel here submitted the

required form. In describing discovery materials or practices which were a noteworthy factor in

the number of hours claimed, counsel reported:

        (1) All defendants spoke Spanish and recordings of post-arrest interrogations
        required translation into English. (2) Despite requests for discovery being made
        a month after appointment, repeated follow ups with the assistant U.S. Attorney,
        and a motion seeking discovery, the government failed to produce multiple
        contemporaneous recordings made by law enforcement until three business days
        before trial. The conversations captured on these “wire” recordings were all in
        Spanish and required translation. This required counsel to employ a staff person
        to conduct translations to attempt to alleviate the prejudice caused by this late


15
    18 U.S.C. § 3006A(d)(5).
16
    United States v. Hagan, 2010 WL 1816338 (D. Kan. 2010).
17
   18 U.S.C. 3006A(d)(3); CJA Guidelines § 230.30. CJA regulations provide that the requesting attorney certify the
same to the district judge, on a form provided, in accordance with paragraph 2.22B(3) of the Guidelines For the
Administration of the Criminal Justice Act, Vol. VII, Guide to Judiciary Policies and Procedures.

                                                        8
      Case 6:11-cr-10074-EFM          Document 216         Filed 02/07/13      Page 9 of 16




       production. (Submitted on CJA 21.) It further added to the burden of preparing
       for trial and required additional motions and a hearing.

In describing legal memorandum or research which were a noteworthy factor in the number of

hours claimed, counsel reported:

       (1) Mr. Herrera is at least functionally illiterate in his native language of Spanish.
       Because of this and because he was forced by the interrogating officer to read his
       own Miranda warning rather than having it explained to him, Counsel pursued a
       Motion to Suppress based on his illiteracy and lack of education. Before the
       Motion was filed, counsel employed a consultant to assist with an evaluation of
       Mr. Herrera in this regard. Extended time was necessary to find and employ such
       a consultant because of the unique literacy issues present in this case (for
       example, if testing was to be done, it would have to be done in Spanish and
       assessed in the context of the Spanish language).

In summarizing investigation and case preparation, including record collection and document

organization, which were a noteworthy factor in the number of hours claimed, counsel reported:

       (1) Defendant’s native language is Spanish, and he required an interpreter. Mr.
       Herrera is at least functionally illiterate in his native language. This required
       counsel to take steps to ensure that he understood the contents of pleadings,
       discovery, and letters from counsel. Correspondence and pleadings were
       translated into Spanish and read orally to Mr. Herrera by the interpreter and with
       counsel present. This required more face-to-face meetings with Mr. Herrera than
       in a typical case. (2) It appeared that Mr. Herrera might be the only defendant to
       go to trial should any of the other two defendants enter a plea agreement (and one
       did after jury selection). Under these circumstances, counsel needed assistance of
       an associate (who in this case had prior experience as a federal prosecutor). Per
       the instructions of Court staff, her time is included in the CJA20 and is identified
       in the worksheets with her initials “RRB.”

In asked to explain any noteworthy impact on the number of hours claimed of investigative,

expert or other services, counsel reported:

       See # 3 & 4 above. In addition to the use of staff to translate late-produced wire
       recordings, counsel also required the use of paralegals to assist with investigation
       and trial preparation.




                                                 9
     Case 6:11-cr-10074-EFM           Document 216        Filed 02/07/13      Page 10 of 16




On the form, counsel also indicated that “Communication with Client/Family,” “Accessibility of

Client,” and “Language Difference” were all noteworthy factors in the number of hours claimed,

explaining:

       As noted above, Mr. Herrera’s native language was Spanish, and he was at least
       functionally illiterate in his native language. Because counsel could not be sure
       that communication in writing would be sufficient, additional face-to-face time
       with Mr. Herrera was necessary. Mr. Herrera was housed at the detention facility
       in Butler County which required counsel to travel 27 miles each way for these
       visits.

Finally, when asked to explain any other noteworthy circumstances regarding the case and the

representation provided to support the compensation request, counsel reported:

       See the explanations previously provided herein. In addition, trial was extended
       due to last-minute plea negotiations and two failed plea hearings. Counsel is still
       relatively new to the CJA panel, and this was her first appointment to proceed
       past the motion to suppress stage. This impacted the time and research devoted to
       the case. This also was a factor in having an associate assist with trial preparation
       and attendance.

       Counsel accordingly submitted bills for 40.0 hours for interviews and conferences, 33.8

hours for obtaining and reviewing records, 157.6 hours for research and writing, 34.6 hours for

travel time, and 125.2 hours for investigation, plus a total of 31.7 hours in court. The paralegals

jointly submitted bills for 0.3 hours for interviews, 1.5 hours for records, 3.1 hours for research

and writing, and 10.9 hours for investigation.

       The Court has thoroughly reviewed counsels’ submission, these governing authorities,

and the proceedings in the case. Counsels’ submission mentions numerous times that her client

spoke only Spanish, was functionally illiterate in his native language, and required the services

of an interpreter -- sometimes even requiring documents to be read to him in Spanish. While the

Court recognizes that this may be a complicating factor in representation of the client, it is by no

means an unusual one. Perhaps close to half of the defendants for whom attorneys must be



                                                 10
      Case 6:11-cr-10074-EFM           Document 216       Filed 02/07/13     Page 11 of 16




appointed are Spanish speakers, and many of them are functionally illiterate in their own

language. Counsel at one point in her justification memorandum refers to “unique literacy

issues;” but these issues were far from unique. Many attorneys, whose CJA fee requests are

within the authorized guidelines, face the same issues. This is by no means an unusual factor

justifying excess fees. Nor is counsel’s report that her client was housed at a detention center in

Butler County, 27 miles distant. A significant number of criminal defendants in this Court are

housed there, possibly more there than any other location. This, again, is not a distinguishing

factor.

          Counsel noted that she was still relatively new to the CJA panel, and that this was her

first CJA appointment to proceed past the motion stage to trial. As noted, the Court deeply

appreciates the involvement of the bar in rendering public service to the interests of justice by

accepting appointments in these cases, but the compensation guidelines do not allow payment for

time spent in learning the field. Indeed, the Court cautioned counsel during the case that her

motion practice here was more appropriate to a complex civil case (where Ms. Dyer has

distinguished herself as an outstanding lawyer), and that her confusion of civil rules of discovery

with the requirements of the criminal rules’ obligations on the United States were causing her to

take many unnecessary and unwarranted positions. The Court accepted her plea of newness to

the criminal practice, but it did so on the assumption that she would not be submitting payment

requests for her time spent learning (and for her time misspent, which is a part of the learning

process).

          The Court cannot approve the total number of hours billed by counsel in this case. While

the case did go to trial rather than (as to this defendant) be resolved in a plea, it was neither

legally complex nor did it involve much extended representation (although the Court will address



                                                 11
      Case 6:11-cr-10074-EFM                 Document 216           Filed 02/07/13          Page 12 of 16




that later), as that phrase has been defined above. The Court is sensitive to ensuring that criminal

defendants receive a fully adequate representation, but it is not obligated to pay counsel for

excessive time (whether incurred due to counsel’s inexperience in this area of the law, or for

other reasons). Indeed, the Court is obligated to not pay for excessive time. Counsel complained

of the distance to travel to see her client, but her fee submission demonstrates that she made 2318

trips to visit her client in jail, 6 of them after the trial. That is more than adequate representation

requires. Counsel filed motions to compel against the government, and complained in her

Statement for Compensation in Excess of Statutory Maximum that the government failed to

make timely productions, to her client’s prejudice. But as the Court explained to counsel, the

government was at no point out of compliance with its constitutional and statutory obligations to

produce matters to defendant.            The Court understands that the radically different rules of

production in a criminal case from those which exist in a civil case can be frustrating for an

attorney more used to the civil arena, but such frustration is not a basis to compensate the

attorney for unnecessary motions and hearings. Ms. Dyer is an outstanding attorney with whom

the Court is personally familiar, and we are fortunate to have the services of such counsel on the

CJA panel. But the Court has an obligation to only compensate appointed counsel for services

which are necessary to provide fair compensation under the standards established by the CJA

Guidelines, as set forth above. The compensation claimed by counsel here far exceeds that.

         Although the Court has reviewed the full billing statement submitted by counsel, in this

case it is more efficient to indicate what amounts will be allowed rather than what amounts will

not be allowed. Even though the filing of unnecessary motions may have created unnecessary

Court hearing time, it was not material, and so the Court will allow the 31.7 hours of In Court


18
   Actually, 23 is the number of trips for which counsel sought mileage reimbursement. A review of the detailed
billing records suggests that at least another 8 jail visits with the client occurred, many of them in the local jail.

                                                         12
      Case 6:11-cr-10074-EFM               Document 216            Filed 02/07/13        Page 13 of 16




time claimed. Counsel claimed 40.0 hours for Interviews and Conferences but the Court can

allow no more than 25.0 hours19 – which should have been more than sufficient. Counsel

claimed 33.8 hours for obtaining and reviewing records,20 but the Court will only allow 10

hours.21 Counsel claimed 157.6 hours for Legal Research and Writing; this for a case that the

Court finds presented no significant or unusual legal issues. Much of that may have been time

counsel spent learning the field, which as noted previously is not compensable. Quite a bit of it

no doubt was spent in what the Court told counsel at the time was unnecessary motions to

compel the government to do things either that it was doing, or that the law did not require it to

do (at least not on the timetable counsel requested). Even considering defendant’s post-trial

motions, the Court finds that 20 hours was all that was reasonably necessary to provide fair

compensation.22 Counsel claimed 34.6 hours for Travel Time. As already noted, counsel’s 23

plus trips to visit her client in an adjacent county where he was being held pretrial was excessive.

The Court allows 15 hours, which is still on the high side of reasonably necessary.23 Finally,

counsel claimed 125.2 hours for Investigative and other work. This case was not factually

complicated, and a review of counsel’s detailed billing memorandum indicates that many

unusual and unnecessary avenues were pursued.24 Because the Court always wants to give

appointed counsel broad leeway to pursue what they think may be necessary for their client’s




19
   Both appointed counsel for co-defendant Mario Alvarez claimed only 17.2 combined.
20
   A review of the billing records suggests that some of that may have related to medical complaints Mr. Herrera
may have had against the prison holding him pretrial; but potential civil complaints of that nature are beyond the
scope of counsel’s appointment.
21
   Appointed counsel for the co-defendant claimed 1.3 hours.
22
   Appointed counsel for the co-defendant claimed 5.0 hours.
23
   Appointed counsel for the co-defendant claimed 10.6 hours.
24
   For instance, the Court was puzzled to see numerous time entries relating to a consultant that counsel hired, or
contemplated hiring for some “testing” issue. No authorization to hire a consultant was sought, and no consultant
fees (other than the interpreter fees, discussed separately below) were submitted for payment. Yet counsel
apparently billed over 10 hours visiting with a consultant.

                                                        13
      Case 6:11-cr-10074-EFM                Document 216           Filed 02/07/13         Page 14 of 16




defense, in this case the Court finds that 60 hours should be fully adequate to permit what was

reasonably necessary.25 Therefore, the Court approves a total of 130 hours.26

        Counsel’s also requested reimbursement of $847.75 in travel expenses, for 23 trips to

visit her client in an adjacent county where he was being held. The Court has already indicated

that this number of trips exceeded what was reasonably necessary to provide fair representation,

and so must make a conforming adjustment here. The effect of the Court’s earlier reduction is

roughly equivalent to a reduction of 10 trips, and so the Court reduces this amount by $277.65 to

reflect a removal of 10 trips from the travel reimbursement claim.27 Therefore, travel expenses

in the amount of $570.10 are approved. Reimbursement of $384.88 for other expenses was

requested.     The Court’s administrative staff reduced this by $120.00, disallowing fees for a

process server as being non-reimbursable under the CJA. Some of the other items appear of

questionable relevance, but the Court allows the administratively adjusted claim of $264.88 for

other expenses.

        This brings us to the matter of the Interpreter services. Counsel caused to be submitted to

the Court a Request and Authorization for Expert fees, which were for interpretation services, in

the amount of $10,804.65, with travel expenses of $908.25. The Court is troubled by this one.

As noted above, absent prior approval, the Court is not authorized to reimburse more than $800

of these fees. Counsel did not obtain prior approval (nor do they meet the one, limited exception

to this requirement, also discussed above). Therefore, the Court can only approve $800 of this

25
   Appointed counsel for the co-defendant claimed 53.2 hours.
26
   This amount is in excess of the maximum allowable, and will require certification by this Court and submission
for approval by the Chief Judge of the Circuit Court. This Court is prepared to certify that the excess amount is
necessary because, due to appropriate pretrial motions, the trial itself, and post trial matters, the case was
“extended.”
27
   Counsel claimed 52 miles for each trip except a final, post trial trip to Leavenworth. Mileage is reimbursed at
$0.51 a mile. This would reduce the mileage claim by $265.20. Additionally, counsel claimed reimbursement for
various amounts of tolls (based, no doubt, on her starting from different locations). The 10 lowest toll amounts
claimed for these trips are $15.95 (2 at no charge [a third trip for which no tolls were claimed was to Leavenworth,
which trip is allowed), 1 at $0.95; 5 at $1.60 and 2 at $1.75).

                                                        14
         Case 6:11-cr-10074-EFM         Document 216        Filed 02/07/13    Page 15 of 16




amount. It would be illogical to approve only $800 in fees, but the full $908 in travel expenses,

so the Court is compelled to make a corresponding reduction to the travel expenses, and approve

only $67.25. This order, which the Court is legally compelled to make, seems to unjustly punish

the interpreter, who is an innocent victim of counsel’s actions (or inactions). Accordingly, the

Court has researched this matter, and finds that due to counsel’s inaction in obtaining legal

authorization beyond the $800 amount, only the authorized $867.25 in approved expenses were

covered by the CJA. The rest of the expenses that counsel caused the interpreter to incur were

done outside authorization of the CJA, and therefore the Court finds that these excess amounts

were contractually procured by counsel’s firm. The Court accordingly finds and orders counsel

to reimburse the interpreter for the remainder of the services obtained from the interpreter,

beyond the legally authorized reimbursable amounts.

           The Court generally approves of the “other services” voucher submitted for 15.8 hours of

paralegal services in the amount of $869.00.           However, these services, like those of the

interpreter, are limited to $800 absent prior approval. Since no prior approval was obtained, the

Court allows only $800 of these services.

           When a reviewing judge fixes compensation to an appointed attorney at an amount that

would reduce the claim submitted by that attorney, the regulations provide that the appointed

attorney shall be provided advance notice of the proposed reduction by the Court with a brief

statement of the reasons for the reduction, and shall be provided with an opportunity to address

the matter.28 Accordingly, the Court grants counsel 14 days from the date of this Order to file a

written response. Further, if counsel requests an opportunity to be heard orally in addition to the




28
     CJA Guidelines § 230.36

                                                  15
     Case 6:11-cr-10074-EFM         Document 216       Filed 02/07/13   Page 16 of 16




written response, counsel should so indicate in the response and the Court will schedule a

hearing date promptly.

       IT IS SO ORDERED.

       Dated this 7th day of February, 2013.




                                                    ERIC F. MELGREN
                                                    UNITED STATES DISTRICT JUDGE




                                               16
